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                  UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff/Respondent,
                                      Case No. 13-20495
v.                                    Honorable Paul D. Borman
                                      Magistrate Judge Elizabeth A. Stafford
ERIC WASHINGTON,

         Defendant/Petitioner.
__________________________________/

      ORDER GRANTING THE GOVERNMENT’S MOTION TO HAVE
     THE COURT WAIVE THE ATTORNEY-CLIENT PRIVILEGE [203]

      On March 2, 2015, Defendant-Petitioner Eric Washington, a federal

prisoner, filed a motion to vacate and/or correct his sentence pursuant to

28 U.S.C. § 2255. [192]. In his motion, Washington alleges multiple

instances of ineffective assistance of counsel. In one such claim,

Washington says his counsel was ineffective because he did not comply

with his request to file an appeal regarding the applicable sentencing

guidelines. [192, Pg ID 2335-36, 2344]. On March 27, 2015, the

Government moved the Court to waive the attorney-client privilege with

respect to the communications between Washington and his attorney

related to the subject matters set forth in the § 2255 petition. [203]. The

Honorable Paul D. Borman referred the Government’s motion to this Court
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for determination pursuant to 28 U.S.C. § 636(b)(1)(A). [204]. Washington

has not responded to the Government’s motion, and his response was due

April 13, 2015.

      A claim of ineffective assistance of counsel impliedly waives the

attorney-client privilege as to any communications relevant to the claim. In

re Lott, 424 F.3d 446, 452-54 (6th Cir. 2005). The waiver is construed

narrowly, and the Court “must impose a waiver no broader than needed to

ensure the fairness of the proceedings before it.” Id. at 453 (citation

omitted).

      Here, Washington implicitly waived the attorney-client privilege with

respect to the communications between himself and his attorney to the

extent that those communications are related to his ineffective assistance

of counsel claim in his § 2255 motion to vacate.

      Accordingly, the Court GRANTS the Government’s motion [203] to

narrowly waive the attorney-client privilege with respect to the

communications between Washington and his attorney related to

Washington’s ineffective assistance of counsel claim.

      IT IS ORDERED.

Dated: April 14, 2015
                                    s/Elizabeth A. Stafford
                                    ELIZABETH A. STAFFORD
                                    United States Magistrate Judge
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                        CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on April 14, 2015.

                                          s/Marlena Williams
                                          MARLENA WILLIAMS
                                          Case Manager




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